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                  IN THE UNITED STATES DISTRICT COURT FOR
                   THE EASTERN DISTRICT OF PENNSYLVANIA


  BENJAMIN M. AUSLANDER                 :       CIVIL ACTION
                                        :
             v.                         :
                                        :       NO. 22-1425
  TREDYFFRIN/EASTTOWN SCHOOL            :
  DISTRICT, et al.                      :

                                   ORDER

           AND NOW, this     8th   day of August, 2022, it is hereby

ORDERED that:

           (1)      The motion of plaintiff Benjamin M. Auslander to

compel the depositions of Wendy Towle and Oscar Torres and for

sanctions relief (Doc. #37) is GRANTED in part and DENIED in

part.

           (2)      Defendant Tredyffrin/Easttown School District

shall produce Dr. Wendy Towle for her deposition within fifteen

(15) days of the date of this order unless the parties agree to

another date.      The testimony of Dr. Towle shall be limited to

her communications with defendant Pacific Education Group and

with others related to the production of curriculum in issue to

plaintiff Benjamin M. Auslander.       The deponent shall not be

examined on the choice, contents, or teaching of the curriculum.

The deposition of Dr. Towle shall be limited to no more than two

(2) hours.
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            (3)   The motion of plaintiff to compel the deposition

of Dr. Oscar Torres is DENIED.     The testimony sought does not

appear to be relevant to any party’s claim or defense and is not

proportional to the needs of the case.       See Fed. R. Civ. P.

26(b)(1).

            (4)   The motion of plaintiff is otherwise DENIED.



                                        BY THE COURT:

                                         /s/ Harvey Bartle III
                                        ___________________________
                                                                  J.




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